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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



                                                               Civil Action
                                                               No: 1:13-cv-11114-WGY

                                       PATINO et al
                                         Plaintiff

                                             v.

                                       McCARTHY
                                        Defendant



                                       JUDGMENT


       This action came before the Court for a trial by jury. The issues have been tried and
the jury has rendered its verdict.

IT IS ORDERED AND ADJUDGED JUDGMENT FOR THE DEFENDANT.


                                                                Robert M. Farrell
                                                                Clerk

So Approved

 /s/ William G. Young
                                                                /s/ Jennifer Gaudet
                                                               Deputy Clerk




September 12, 2016

To: All Counsel
